              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                 Case No. 97-CR-98-10-JPS
 v.

 DAVID KADLEC,
                                                                 ORDER
                     Defendant.


      On December 7, 2021, Defendant filed a motion for compassionate

release through counsel, who withdrew shortly thereafter due to financial

considerations. (Docket #2264, #2265). On December 13, 2021, the Court

referred Defendant’s motion to the Federal Defender Services of Wisconsin,

Inc. (“FDS”). (Docket #2267). On January 11, 2022, FDS indicated that it

could not represent Defendant due to a conflict. (Docket #2268). However,

FDS explained that it believed the case would benefit from assistance of

counsel, and requested the Court appoint counsel. (Id.)

      Since Defendant’s moving brief was drafted with the assistance of

counsel, it does not appear necessary to appoint additional counsel at this

juncture. The better course of action is to order the Government to file a

response brief to determine the grounds of opposition, if any. Once the

Government has submitted its response brief, the Court will determine

whether appointment of counsel is appropriate. The Government shall

have fourteen (14) days in which to respond to Defendant’s motion.

      Accordingly,

      IT IS ORDERED that the Government shall submit a response

within fourteen (14) days.

      Dated at Milwaukee, Wisconsin, this 21th day of January, 2022.



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                            BY THE COURT:




                            J.P. Stadtmueller
                            U.S. District Judge




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